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          Case: 1:19-cv-04933 Document #: 7 Filed: 08/08/19 Page 1 of 10 PageID #:40




F'TLED                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE NORTHERN DISTRICT OF ITLINOIS
  v   AUG
            -8   2019

    THOMAS G. BRUTON                     EASTERN DIVISION
CLERK, U.S. DISTRICT COURT



       !n the matter of



      Peter   Obazuaye, Plaintiff                           )

                        Vs                                  ) Case 1:19-cv-04933
      Illinois department of human service, ( Defendant ) Judge Ruben Castillo

      Illinois nurses association,                          )    Magistrate Judge

      Elgin mental health center,                           )    Jeffrey T. Gilbert.

      John Gordon,

      Diana Hogan,

      Jeffrey Pilario,

      Daisey Juntilla,

      Michael Palad



                             Statement of claim
      I began my employment     with Respondent on or about November 16,
      2005. My current position is Registered Nurse ll. During my
      employment, lwas denied a promotion. on or about September 16
      and March 3, 2017,1 filed a charge of discrimination (IDHR# 21E.-2017-
      00976).
     Case: 1:19-cv-04933 Document #: 7 Filed: 08/08/19 Page 2 of 10 PageID #:41




  Subsequently, Respondent failed to notify me of upcoming layoffs
 with sufficient time that would have allowed me to apply for two
 promotions. As a result, I was transferred to Respondents location in
 Elgin.

 I am being discriminated against in retaliation for engaging in
 protected activity, in violation of Title Vll of the Givil Rights Act of
 1964, as amended.

 The Defendants engaged in a "separate but equal "policy/facility.
 African American and black races Nurses are treated differently
 ln regards to hiring and Promotion compare to White and Filipinos
 Nurses.

 Violation of Title Vll- Equal employment opportunity.
 Brown Vs Board of education of Topeka 347 us. 483 1954.

The defendant, John Gordon retaliated against me and his action was
a hate crime because I complained of his discrimination of service to
the poor black and minority blind customers at lllinois center for
Education and rehabilitation, WOOD.
John Gordon engaged in harassment through electronic
communication and criminal trespass to my office desk space.

Violation to lllinois statutes Chapter727, criminal offense, "Hate
Crime" against employee of coior and national origin. I have a potice
report to this matter. ( see document listed 1-7)


The Defendant uses Nurses of national origin to perform jobs
responsibility of Public Service administration and pay as Registered
Nurses ll. All incumbent administrative nurse on duties were all
White with satary pay as Public Service Administration.

This claim is true and correct to the best of my knowledge and belief.
   Case: 1:19-cv-04933 Document #: 7 Filed: 08/08/19 Page 3 of 10 PageID #:42




(ob"t;tftL
Peter Obazuaye.

1433 Victoria Avenue,

Berkeley. !1.60153,

708-620-9870

peterobazuaye@ hotma il.com
                               Case: 1:19-cv-04933 Document #: 7 Filed: 08/08/19 Page 4 of 10 PageID #:43
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Case: 1:19-cv-04933 Document #: 7 Filed: 08/08/19 Page 5 of 10 PageID #:44




               u.s. EQUAL EMPLOYMENT OPPORTUNITY COMmSsIoN
                               Chicago District Oflice
                                                                                          500 wesr Madison sr., suite 2000
                                                                                                       Chicago, IL 60661
                                                                                                      PH: (3 12) 869-8000

                                                                                    ENF.R.EMENT      f,*;,!   I 31   33i:3lll
                                                                                            LEGAL FAX; (3 t2) 869-8124


                                  NOTICE TO ALL EMPLOYEES:
                                   RETALTATION IS ILLEGAL
  The u'S' Equal Employment opportunity commission (EEoC) has
                                                                              alleged that there is
  reasonable cause  to believe that the lllinois Department of Human Sirvices
  Title vII of the civil Rights Act of 7964, as amended (Title vII); the Equal fdHsl
                                                                                       has violated
                                                                               iay act or tgol, *
  amended (EPA); the Americans with Disabilities Aci of 1990,
                                                                     as amended (ADA); the Age
  Discrimination in Employment Act of 1967, as amended (ADEA); and
                                                                           the Genetic Information
  Non-discrimination AI o{ 2008 (GINA) conceming the language used
                                                                           in agreements resolving
  grievances. IDHS denies the claim but to resolv" ti." *nr"ri,
                                                                  igoc and IDHS entered in to a
  conciliation Agreement which provides, among other things, that:

          l)      IDHS will change the language in Grievance Resolulion Agreements (.,GRA,,)
                                                                                             to
                  make.it clear that employees who sign them may communicate with the
                                                                                       EEOC,
                  incruding firing charges of discrimination with the EEoc;

          2)      ForGRAs resolved on or after January l, 2ol4 resolving allegations of discharge;
                  on or after January     l, 2016 resolving allegations of any type of adverse
                  employment action; or on or after April -1, 2016 resolving            oiir". allegations,
                                                                                    "ny
                  IDHS agrees to tofl the dates for filing charges of discrimini'tior,;

         3)      IDHS..will make regular reports        to EEOC regarding its      compliance with the
                 Conciliation Agreement; and,

         4)      IDHS will provide training to its Labor Relations and Human Resources managers
                 on the requirements of Titre vII, the ADA, the ADEA, the EpA,
                                                                               and GINA.

 Federal law also prohibits retaliation against any applicant or employee
                                                                           because the applicant or
 !|ntgrge files an employment discrimination "[r.g. against m. lriloy"r, opposes erir]loyment
 discrimination' or cooperates with or participates in the bovernment's investigation
                                                                                      of a charge of
 discrimination. Should you hlve any c-omplaints or questions regarding
                                                                        employ-ment discrimination,
 you can contact the EEOC office at the address and telephone
                                                                  nrrnbe. shown abov".

                                          This notice must remain
postedasagreeduponbyalIpartieso..ou,,.d-byLyother
material' Any questions concerning this notice or compliance with its provisions
                                                                                 may bJ directed to
the EEOC at the above address and telephone number.

   q -Zb-L\o
Date




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                                                  D€partrnent of Human Services
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            Case: 1:19-cv-04933 Document #: 7 Filed: 08/08/19 Page 6 of 10 PageID #:45

                                             -:
     Obazuaye, Peter                       :i,ry,&
                                            *,ffidl*#


     From:                 Obazuaye, Peter
     Sent:                 Wednesday, June 15,201612:S0 AM
     lo:                   Phillips, Derick
  Cc:                      John.Gordon@illinois.gov; Bridges, Sherie; Grimes, Antonine
  Subject:                 Unsafe work environment .


     Mr. Phi1lip.
          to fill vacant positions is a potentia] fon unsafe wonk envinonment and negligence.
     Failune
 A11 job classifications has a nequired education and tnaining
 present to utilize state employees with no fonmal tnaining on centification in the past and
                                                                  The pnactice
 cane wonken fs wrongdoing and unsafe fon customens,.
                                                                             as nesidential
   Ne serve visually impalned popu!.ation that reguines safe and a good
 envinonment. The budget situation is critical but we cannot compnomise
                                                                        living ski1l
 living independent. (The first prionity in health cane is sAFETy). Therecoit    to safety and
                                                                             are many options to
 consider if we want to reduce cost and r have reasonable cost saving measures
                                                                                   to offen.
  -one
       of oun job duties as a Registened            Nurse   is to   advocate   for   the customers and advice
 facility  management on safety issues.


 Sincerely,

Peten 0. Obazuaye , RN II
Medical Department
rllinois centen fon Rehabilitation & Education-wood
1L5L South Wood Street
Chicago, IL 60612
Tel. No: L-3L2-G33-353A
Fax    No: L-3L2-633-5243
E-      : Pete n. Obaz uaye@illinols
     Mai 1                             .   epv



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immediately.
DHS    users are solely nesponsible        for   maintaining the confidential-ity of the infonmation.,,
                  Case: 1:19-cv-04933 Document #: 7 Filed: 08/08/19 Page 7 of 10 PageID #:46
                                                                           A'T
   obazuaye,        Peter
  From:                        Obazuaye, Peter
  Sent:                        Tuesday, January 29,2019 12:39 PM
  To:                          Phillips, Derrick
  Cc:                          Gordon, John; Aglikin, Maria; Bridges, Sherrie; Tozzi, Daniel; Julia Bartmes
                               (JBartm es@illinoisnurses.com )
  Subject:                     Unjust layoff and unequal employment opportunity to fill permanent vacant position in
                               employing facility.


  Mr. Phillips,

  I humbly wish to bring to your attention that in 2016 and 2077 respectively, you notified the medical
                                                                                                        staff (Nurses and
  Doctor)thatthemanagementisproposingtolayoffthemedicaldepartment. lhaveexpressedtoyouasmyimmediate
  supervisor about my interest to seek after a permanent vacant position outside of my bargaining unit ( RC023) in the
  employing facility.

  ln 2016 and 2018, I had the opportunity to avoid pending layoff by applying for a posted permanent position (public
 service administration Opt. 8N or Executive ll). This position is a nurse and a supervisor for the residential
                                                                                                                care
 worker. The management focused on budget problem not a solution. The position pSA Opt. 8N is able to perform the
 two Job duties and responsibilities of the Executive ll and Residential care supervisor. I hope the management
                                                                                                                  consider
 the sa la ry differences.

 I had the management meeting yesterday, we are cooperating with the union and labor management. you
                                                                                                            are the
 immediate medical department supervisor and you remain silent about this unjust layoff and unequal employment
 opportunity for current employee to apply and fill permanent position in our employing facility. However, you claimed
 to staff that you are unaware of this layoff. l am humbly expressing thail am interested to apply for a permanent
 vacant position in ICRE-WOOD.

 lhavetwooptionsasoftoday,grievancetofindareasonablesolutioningoodfaithorcivilservicecommission                    onor
 after a March 1'5,2019. I will start an employee's grievance on unjust layoff and failure to give us equal employment
 opportunity' The management's request for medical staff lay-off was approved in March 2OI7 andthe labor
 management was notified in Mid November 2019.



Sincerely,

Peter O. Obazuaye, RN ll
Medical Department
lllinois Center for Rehabilitation & Education-Wood
1151 South Wood Street
Chicago, lL 60612
Tel. No: 1-312-633-3530
Fax No: 1-312-633-3506
E-Mail: Peter.Obazuaye@illinois.gov




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                                                           fl)s|T'ONTITLE                             soc. sEo. ito,              AGENCY
     Peter O. Obazuaye                                     Registered   Nursetr                      XXX-XX-XXXX                  Rehab/DHS
     WOflKADDFESS
     1151 South Wood Siree! Chicago, II.60t63                               RC 023

     SIATEMENT OF GRIEI/AI.ICE AHD RELIEF HEOUES'EO
                                                    {IHCU.IOIHG CtrlNOI{ OF AIIEGEO BUI.E          UOUNSIS):
    Failuie to fill a Public service Administrator -opt 8N position created a practice
                                                                                           to delegate job dutjes and reryonsibilities to a
    facility's superiniendent u'ith no nirrsing education and state license. riri''.-pi."i.";s
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    personal coaduct) and crcated safcty risk.
    seeattachedcopy.                                                                                                    ,. " '         ' ' l''' t' : r. ::   11   1.*
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          2, Deter wrongdoing.

   Relief Reguested-

   To fill the job title Public Service Administraror - opt gN.


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             RESPoNSE:    ElccepreO        Dn:..recrEo




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                                                                               SERVICES FOB REVIEW AND FINAL OETEFIAINATION,




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                 Case: 1:19-cv-04933 Document #: 7 Filed: 08/08/19 Page 9 of 10 PageID #:48

                                                 -Jr




  Bruce Raunei, Governor                                                                                               Jan'les ?. Dimas, Secre{cry

                                                               Division of Rehabilitation Services
                                                               BUR.EAU OF BLIND SERVICES
                                                         100 W. Randolph Sfi'eet, Sufte 5-300
                                                               Chicago, Illinois 60601
                                                {372)874-3332 [Office) {312) 814-5745 [FaxJ
                                             {372) 633-3s96 - ICRE-Wood Qtn 4e4-938e [Ceil)
                                                         I ohn.Go rdon @ilIinois.gov




   September 23,201.6




  Mr. futer Obazuaye
  ICRE Wood
  1151South Wood Street
  Chicago, lL 60612

 Dear Mr. Obazuaye,

 I am responding to your Level 2 Grievance that I attended on Friday, September L6, 2016. I am denying your
grievance at this time. lt appears you were grieving the fact the Nursing Supervisor position was never posted.
Although I have no responsibility in posting positions I did in fact inform our personnel department that ICRE-Wood
had no interest in this position at this time.

Thanks,
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Johri P. Gordon
Bureau Chief- BBS




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 tsruce Raunet, Covernor                                                                                    james T. Dimas, Sec,'eicrr

                                             100 South Crand A.verrue, East o Springfield, lllinois 52762
                                                {01 South Clinton Sireet   o Chicago, lilincis 5Ct507


 0ctober 20,20L6

 Peter 0. 0bazuaye
 i433 Victoria Avenue
 Berkele_v,   lllinois   60163

 Re: lnternal Discrimination Complaint
     Charge No.0817R0101E
     lssue:        Failure to promote
     Basis:        National 0r'igin, Retaliation

 Dear Mr. Obazuaye:

The Bureau of Civil Affairs ['BCA"J has completed its investigation of the conrplaint you tiled, alleging
discrimination perpetrated by John Gordon.

A careful review has been tttade of the evidence obtained, as well as of tl:e objective criteria. Based on relevant
inforntation obtained through interviews and documents revierryed, it has been determined that there is
insufficient erridetrce to sttbstantiate your complaint. 'l'he Bureau of CivilAffairs has concluded its invesrigation of
this ntatter. Our action lias no bearing on the status of any conrplaintyou rnay have filed with the lllinois
Departtuentof I-luman Righrs or the federal Equal Employment 0pporruniEy Commission.

Please Note: In contpliance witlt all applicable State and federol lows, neither this correspondence nor ony
inlbrmotiort relevant to the iiling of this chorge is to be shored with any other IDHS staff. Also, no inforrnotion relaterl
to this case rs to be filed in your personnel or work file. Additionally, ctny fornt af reraliation is talawful and witl not be
tolerated.

If you have arry questiolrs or concerns, please confact me at 312-793-6A6+.

Sirtcerely,
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'f€rry Post, Investigalions Manager
IDHS Bureau of Civil Aifairs

cc: BCA File
